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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

                                                          )
    JONATHAN MULLANE,                                     )
                                                          )
                  Plaintiff,                              )
           v.                                             )      Civil Action No. 22-725 (RBW)
                                                          )
    UNITED STATES DEPARTMENT OF                           )
    JUSTICE, et al.,                                      )
                                                          )
                  Defendants.                             )
                                                          )

                                                      ORDER

          In accordance with the oral rulings issued by the Court at the motion hearing held on

March 25, 2024, via teleconference, and for the reasons to be set forth in an Order to be issued

by the Court within the next sixty days, absent extraordinary circumstances, the Court will grant

the Defendants’ Motion to Dismiss, ECF No. 43. Accordingly, it is hereby

          ORDERED that the Defendants’ Motion to Dismiss, ECF No. 43, is GRANTED. It is

further

          ORDERED that the Clerk of the Court shall forthwith mail a copy of this Order to the

plaintiff at the plaintiff’s address on record. It is further

          ORDERED that this Order is not a final Order subject to appeal. 1




1
  To ensure that there is no confusion about the import of this Order, the Court notes for the benefit of the litigants
that this Order is not a “final decision” as that term is used in 28 U.S.C. § 1291 (2018). See St. Marks Place Hous.
Co. v. U.S. Dep’t of Hous. & Urban Dev., 610 F.3d 75, 79 (D.C. Cir. 2010) (“[A]ppeals may be taken (with certain
exceptions not relevant here) only from ‘final decisions.’”); id. at 80 (concluding that “district courts can choose
when to decide their cases,” and when an order states that it “shall not be deemed . . . final,” the Court should be
“take[n] . . . at its word”). Rather, this Order reflects the Court’s disposition of the motion, which was reached only
after carefully and thoughtfully considering the arguments of the parties as set forth in their submissions, conducting
a thorough review of the record, and drafting a Memorandum Opinion that explains the Court’s rationale in
appropriate detail. With only non-substantive tasks (e.g., reviewing citations to ensure conformity with the
Bluebook) remaining before the Memorandum Opinion can be released to the parties and the public, this matter no
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         SO ORDERED this 27th day of March, 2024.


                                                                          REGGIE B. WALTON
                                                                          United States District Judge




longer requires this Court’s “judicial attention,” and therefore the Court finds it appropriate to issue this Order
expressing its disposition of the matter. See id. (questioning the “propriety” of resolving a motion which “still
require[s] judicial attention”).
